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FOR UNlTED STATES BANKRUPTCY COURT
MlDDLE DlSTRICT OF FLORIDA
ORLANDO DIVISION
In rec

PROGRESSIVE PLUMBING, INC.

 

Chapter ll
Case No.:6:15-bk-07275-KSJ
PROGRESSIVE SERVlCES, LLC and Case No.: 6:|5-bk-07276-KSJ
GRACIOUS LIVING DESIGN Case No.: 6:15-bk-07277-KSJ
CENTER, lNC.
Debtor.
___ _ ___ _____ /
MEDIATION REPORT

The parties were all in attendance at mediation at the offices of Gurley & Vitale in Sarasota
on Thursday, November 17, 2016. Mediation concluded with an adjournment and agreement by

all parties to continue engaging in further settlement negotiations

I HEREBY CERTIFY that I electronically filed the foregoing document this 17th day of
November, 2016, with the Clerk of Court using CM/ECF and that a true and copy hereof Was

served via transmission of Notices of Electronic Filing generated by CM/ECF to counsel of record.

CIKLIN LUBITZ & O’CONNELL
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